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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )            Case No. 8:09CR251
                                                )
                       Plaintiff,               )
                                                )
        v.                                      )                        ORDER
                                                )
JON G. WHITAKER,                                )
                                                )
                       Defendant.               )




        Before the court is defendant’s unopposed oral motion to extend his self-surrender date.

Following a hearing on this matter, the court hereby grants the defendant’s request to extend his

self-surrender date.

        IT IS ORDERED that the court’s previous self-surrender order, Filing No. 150 is vacated,

and the defendant is ordered to self-surrender to the Bureau of Prisons on or before August, 10,

2010.

        IT IS FURTHER ORDERED that the defendant shall have no contact with Rachel Davis.

        Dated this 12th day of July, 2010.

                                                BY THE COURT:



                                                s/ Joseph F. Bataillon
                                                Chief District Judge
